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                                              CorFM               [incoln
                                              C                   [inca!n
                                              w                   OnColn
                                              FM                  Fergus
                                              FM                  lincoln
                                              CorFM               FlatneaCl
                                              CorFM               lincoln
                                              W                   Missoula
                                              W                   Riversiae CA
                                              w                   [incaln ,.
                                              w                   lincoln
                                              CorFM               [incoln
                                              FM                  KinaWA
                                              w                     inaWA
                                               M·                 lincoln
                                              FM                  Onealn
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              Case 01-01139-AMC     Doc
                                     11622766-24        Filed 08/13/09
                                         Mortality List.xls               Page 2 of 2
First Name                Birth Date 1Death Datel-DjCDate-T ·[aw          x     Per TPer 1- Coun      Residence all DC siQneB
PAM                        7/19T19-l2r--8730/~0071            Inone   Co(FM Yes IYes ICincoln        LiDOV MT     IKnecht
Lorainne E                 TI23/1925J~2J11/20051 7117/20011MHSM FM             No T'?esTFlathead     Libby MT- rBrowderrc:J
James V                      3/471935f12T30/20061             ILSK    FM       Yes rYes 1Flathead    libby MTIWelch
,IRHF                      oI20119~6t-1/2612Q081              Inonew           No-rYes IDncoln       LibbyMr      !SchnaCk {c
 RHK                      12724/19301-1730/~00~1              Inone   CorFM No IYes ILincoln         LibbyMr .1 Schnack (c)
 MilesH              79J 10/4/19201        9/2/20001-7/~0/fg98JMHSM   W        YeslYes IFlatfiead    Columbia     IMary Anne
  Darlene J          54111/971944. 1~4/19981 4/157199-sfMHSM       c           Yes lYes JDncoln      libbY MT     IJonnson
  DonaldA            5815/16/19391 2126119971 -S/31/1981TMHSM      w           Yes IYes ILincoln     libDVMT 'Phelps
[fRel                8913123119171 613~0061                   lnolie  (lor-FM No --TYes-JUncofnl     LiDDY MT     \Cuskell
  RRP                701- 17141193612724/21>061                tnone           Yes iYesroncoln       li6by MT     I Rice
  RWF                861 811871~gr9.4727120071                Inone   C-orFM Yes IYes ILincoln       Libby M T lRice
  Kenneth D          681 51151193~8124120031672012002fMASM         c           Yes IYes ILincoln     liDDy ~T _~Phelps
                       81 0/121193014/1 E)/~0081-412J2001TMHSM C               NoiYes IUncoln        Libby MT     IGuntfier
                     SSf411471939\ 216/20051               II ILSK    C        Yes IIYes IBonnerlD   Sagle ID      ICope .'
                     70r 6/6/19361 1/21720071 11/13/1995rMHSM W                Yes IYes ILincoln      Libby MT    1Black
                     541 7/15/194816/27/200~r-----TLSK                C        Yes,Yes IUncoln        libbY MT     IPhelps
                     74r1/12/1g-291~ 5714/200316/2-8/20021MHSM W               Yes IYes ILincoln     libDyMT iGiJntfier
                     85f 5113/19231 6/29/200af1Tt/19lr9TMHSM       c           Yes IYes ILincoln      Libby MT     IGardner
                     67J11201'f936T11/11/2003\ 812172()O1\ MHSM        FM      No lYes-JFlathead      Rexford MTIPistorese
                     81111/22/19221        8f9/200318/11200~TMHSM      c       Yes IYes llincoln      Libbv MT     IRice
                      821     8/9/11;}251 1016/20071 8/20/200lTMHSMc           YeslYesILincoln        Lipby MT     1Rice
                      811 8124119191 1.1/23/20061               ILSK   C       Yes IYes IUncoln       Libby MT   . IBlack
                      71T 5/26/193T 9/17/20071 5/28/19991 MHSM FM              YeslYes ILincoln       Libby MT . 1Cuskell
                      6m 7/25/193817122120071                   Inone  C-or-FM YeSlYes TFlatheaa      Troy MT      IBoehme
                      8111/31/19251 1213J20061 1710/19971MHSM W                Yes IYesiDncoln         Libby MT -,Rice
                      911· . 5/5119161 10/312001,-· ~Ti Inone                   Yes.yes1 Oncotn        Libby MT     r~oti'Ei' .
                      75\ 1/22/19271 11/10/20021 7/23/19981lSK        IW        Yes IYes ISpokane WA Libby MT ·-IHollenj)augh
                      7-gr 0/31/192215rr3/20011~/1996TMHSM IW                   Yes IYes J[inci>ln     LiDby MT     IPhelps




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